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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                            No. CR-20-00096-001-PHX-JJT
10                   Plaintiff,                           ORDER
11   v.
12   Frank Capri,
13                   Defendant.
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            On February 25, 2022, the Court entered judgment of conviction in this matter
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     against Defendant Capri (Doc. 258, amended Doc. 290), but continued the issue of
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     restitution (Doc. 255) to allow the parties to provide law and argument, and then for the
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     government to provide additional evidence as to its success in contacting and confirming
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     the existence of victims in this matter (Docs. 297, 304, 306). The Court also held a
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     supplemental hearing to allow the parties to argue restitution issues on May 5, 2022. (Doc.
21
     303.) Upon completion of briefing and provision of the information ordered by the Court,
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     it appears the parties are in agreement as to the full restitution amounts listed in redacted
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     Exhibit A to the government’s supplemental restitution memorandum (Doc. 305), except
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     for victim 22, listed as “MX Retail, LLC,” of St. Louis, Missouri, to whom a loss of
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     $155,352.00 was attributed as a result of Defendant’s Rascal Flatts scheme. Despite the
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     government’s efforts, it was unable to make contact with any representative of MX Retail
27   to confirm its existence, its successors, if any, or its representatives at this time. The Court
28   therefore will not order restitution be paid to that entity, and will order the total restitution
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 1   amount be reduced by $155,352.00. It will order all other amounts listed in Doc. 305 for
 2   the other 34 extant victims.
 3          IT IS ORDERED that judgment of conviction in this matter be amended to include
 4   an Order of restitution against Defendant Capri in the total amount of $17,857,350.80 (the
 5   full amount of loss suffered by all entities listed in Doc. 305 less the $155,352.00 of loss
 6   attributed to MX Retail, LLC), with each of the remaining victims 1-21 and 23-35 being
 7   entitled to receive the individual amounts listed for them in Doc. 305. $5,035,224.08 of
 8   this amount is to be paid jointly and severally with co-Defendant Christian Peter Burka.
 9   Restitution is due immediately. Having assessed Defendant’s ability to pay, payments of
10   the total criminal monetary penalties are due as follows: during imprisonment, Defendant
11   shall pay not less than $25 per quarter, with payments made through the Bureau of Prisons

12   Inmate Financial Responsibility Program. Upon release from imprisonment, Defendant

13   shall pay not less than $500 per month for 34 months, to commence 60 days after release.

14          Dated this 20th day of May, 2022.

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16                             Honorable John J. Tuchi
                               United States District Judge
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